Case 6:99-cv-00117-PGB-KRS Document 394 Filed 11/17/04 Page 1 of 2 PageID 2548




                                 UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                            ORLANDO DIVISION

    SECURITIES AND EXCHANGE
    COMMISSION,

                                   Plaintiff,

    -vs-                                                       Case No. 6:99-cv-117-Orl-22KRS

    DONNA YUN and JERRY BURCH,

                            Defendants.
    ______________________________________

                                                ORDER

           The Clerk’s Financial Administrator has brought to the undersigned judge’s attention

    that the Clerk’s Office has received a $10,300.00 law firm trust account check on behalf of

    Defendant Jerry Burch as partial payment of such Defendant’s disgorgement obligation in

    this case. A question has arisen concerning whether that check should be deposited into the

    registry of the court, where it will bear interest and be subject to further disbursement, or

    whether it should instead be paid into the U.S. Treasury in the manner of a fine.

           Based on the foregoing, it is ORDERED that the Clerk shall initially deposit the

    check into the registry of the Court. If the parties do not object in writing before December

    6, 2004, the Court will enter a further Order directing the Financial Administrator to transfer

    the funds to the U.S. Treasury, and to deposit all future disgorgement payments into the U.S.

    Treasury.

           DONE and ORDERED in Chambers, in Orlando, Florida on November 17, 2004.
Case 6:99-cv-00117-PGB-KRS Document 394 Filed 11/17/04 Page 2 of 2 PageID 2549




    Copies furnished to:

    Counsel of Record
    Unrepresented Party
    Clerk’s Financial Administrator (Jacksonville)




                                                -2-
